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13 COMPANY, as successor in interest to
   INDUSTRIAL UNDERWRITERS
14 INSURANCE COMPANY
15                         UNITED STATES DISTRICT COURT
16                       CENTRAL DISTRICT OF CALIFORNIA
17
      WESTCHESTER FIRE INSURANCE              Case No.
18
      COMPANY, a Pennsylvania
19    corporation,                            WESTCHESTER FIRE
                                              INSURANCE COMPANY’S
20
                   Plaintiff,                 COMPLAINT FOR
21                                            DECLARATORY JUDGMENT
            v.
22
                                              JURY DEMAND
23    THE ROMAN CATHOLIC BISHOP OF
      ORANGE, a California corporation sole, (28 U.S.C. § 2201 and 28 U.S.C. §
24
      and DOES 1 through 50,                 1332)
25
                   Defendants.
26
27 REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER
28                          SEAL
                                          1                                  Case No.
                 WESTCHESTER`S COMPLAINT FOR DECLARATORY JUDGMENT
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                                                         1         Plaintiff Westchester Fire Insurance Company, as successor in interest to
                                                         2 Industrial Underwriters Insurance Company (collectively, “Westchester”), brings this
                                                         3 complaint seeking a declaratory judgment against defendant The Roman Catholic
                                                         4 Bishop of Orange (hereinafter referred to as the “Diocese of Orange”) and, in support
                                                         5 thereof, alleges as follows:
                                                         6                                NATURE OF THE ACTION
                                                         7         1.    Westchester seeks declaratory relief under 28 U.S.C. § 2201(a)
                                                         8 requesting a judgment declaring the rights and obligations of the parties in connection
                                                         9 with an actual controversy arising under certain policies of liability insurance issued
                                                        10 by Westchester to the Diocese of Orange.
                                                        11         2.     Westchester seeks to resolve the insurance coverage dispute between
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                                                        12 Westchester and the Diocese of Orange regarding the underlying lawsuits in which
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                                                        13 alleged survivors of childhood sexual abuse (collectively, the “CCVA plaintiffs”)
                                                        14 have sued the Diocese of Orange and its affiliates under the California Child Victims
                                                        15 Act, AB 218, codified as California Code of Civil Procedure § 340.1, et seq.
                                                        16 (collectively, the “CCVA Claims”), more fully described below. The Diocese of
                                                        17 Orange seeks defense and indemnity from Westchester for the CCVA Claims under
                                                        18 one or more insurance policies Westchester issued to the Diocese of Orange from
                                                        19 1981 to 1984. Westchester seeks a declaration regarding its defense or indemnity
                                                        20 obligations, if any, under the insurance policies Westchester issued to the Diocese of
                                                        21 Orange. Specifically, Westchester seeks a declaration regarding the CCVA Claims
                                                        22 and any other similar sexual abuse or molestation claims against the Diocese of
                                                        23 Orange or any of its affiliates that claim insured status under Westchester’s insurance
                                                        24 policies.
                                                        25         3.    Westchester, under its umbrella policies, seeks a determination that it has
                                                        26 no present duty to defend the CCVA Claims unless and until the Diocese of Orange
                                                        27 satisfies the retained limit of Westchester’s umbrella policies. Westchester also seeks
                                                        28
                                                                                                 2                                         Case No.
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                                                         1 a declaration that it is entitled to reimbursement of any defense expenses paid on
                                                         2 behalf of the CCVA Claims. This includes defense expenses it paid for the lawsuit
                                                         3 filed by John Doe E.G.D. against the Diocese of Orange, Los Angeles County
                                                         4 Superior Court, case no. 22STCV14258, Judicial Council Coordinated Proceeding
                                                         5 (“JCCP”) 5101 (the “John Doe E.G.D. action”). Westchester seeks a declaration that
                                                         6 it is also entitled to reimbursement of any indemnity, in the form of settlement or
                                                         7 judgments, paid to resolve the CCVA Claims, to the extent it is determined that
                                                         8 Westchester owed no coverage for the CCVA Claims, including the John Doe E.G.D.
                                                         9 action.
                                                        10                                         PARTIES
                                                        11         4.     Westchester is a corporation organized under the laws of Pennsylvania
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                                                        12 with its principal place of business in Pennsylvania and is licensed to operate in the
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                                                        13 State of California. Westchester issued excess umbrella insurance policies to the
                                                        14 Diocese of Orange. The Diocese of Orange now seeks coverage, in the form of
                                                        15 defense and indemnity, for the CCVA Claims under the Westchester umbrella
                                                        16 policies.
                                                        17         5.     The Diocese of Orange is a corporation sole incorporated in the state of
                                                        18 California, with its principal place of business in Garden Grove, California.
                                                        19         6.     Westchester is ignorant of the true names and capacities of each of the
                                                        20 defendants designated in this complaint as Does 1-50. Westchester is informed and
                                                        21 believes and, on that basis, alleges that each of the defendants sued as Does 1-50 is in
                                                        22 some manner interested in the controversy alleged in this complaint. Upon learning
                                                        23 the true name and capacity of each of the Doe defendants, Westchester will amend
                                                        24 this complaint accordingly.
                                                        25         7.     Westchester is informed and believes and thereon alleges that at all times
                                                        26 relevant hereto each of the defendants, including without limitation Does 1-50, was
                                                        27 the agent, affiliate, officer, director, manager, principal, alter-ego, or employee of the
                                                        28
                                                                                                 3                                          Case No.
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                                                         1 other defendants and was at all times acting within the scope of such agency,
                                                         2 affiliation, alter-ego relationship, or employment and actively participated in, or
                                                         3 subsequently ratified and adopted, or both, each and all of the acts or conduct alleged
                                                         4 herein, with full knowledge of all the facts and circumstances.
                                                         5                             JURISDICTION AND VENUE
                                                         6         8.     This Court has subject matter jurisdiction pursuant to 28 U.S.C.
                                                         7 §§ 1332(a)(1), because there is complete diversity between Westchester, the Diocese
                                                         8 of Orange, and the Insurer Defendants, and the amount in controversy exceeds
                                                         9 $75,000, exclusive of interest and costs.
                                                        10         9.     This Court has original jurisdiction by virtue of the Declaratory
                                                        11 Judgments Act, 28 U.S.C. § 2201(a), because this matter presents an actual
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                                                        12 controversy between the Diocese of Orange and Westchester. The Diocese of Orange
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                                                        13 claims Westchester owes the Diocese of Orange defense and indemnity for the CCVA
                                                        14 Claims under the umbrella insurance policies Westchester issued to the Diocese of
                                                        15 Orange for the CCVA Claims. Westchester disputes that it has any present obligation
                                                        16 to defend the Diocese of Orange and cannot make a determination as to indemnity
                                                        17 without more information that the Diocese has failed to provide to Westchester.
                                                        18         10.    Venue is proper in this Court under 28 U.S.C. §§ 1391(b)(1) and (2)
                                                        19 because the Diocese of Orange resides in the State of California in this judicial district,
                                                        20 and a substantial part of the events giving rise to the claim occurred in this judicial
                                                        21 district.
                                                        22         11.    Venue is proper in the Southern Division of the Central District of
                                                        23 California because the Dioceses of Orange resides in the Southern Division.
                                                        24                              FACTUAL ALLEGATIONS
                                                        25 A.      The Industrial Excess Policies
                                                        26         12.    Industrial Underwriters Insurance Company issued commercial umbrella
                                                        27 policy no. JU 835-8295 to Roman Catholic Bishop of Orange for consecutive policy
                                                        28
                                                                                                  4                                          Case No.
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                                                         1 periods from June 18, 1981 to July 1, 1982 (the “1981-1982 Industrial Excess
                                                         2 Policy”), July 1, 1982 to July 1, 1983 (the “1982-1983 Industrial Excess Policy”), and
                                                         3 July 1, 1983 to July 1, 1984 (the “1983-1984 Industrial Excess Policy”) (collectively,
                                                         4 the “Industrial Excess Policies”). The parties have not located complete copies of the
                                                         5 Industrial Excess Policies. The terms and conditions cited in this Complaint are based
                                                         6 on specimen policy forms that may or may not have been included with the Industrial
                                                         7 Excess Policies.
                                                         8         13.    The Industrial Excess Policies provide coverage for the Diocese of
                                                         9 Orange and certain of its affiliates only pursuant to all of the terms, conditions,
                                                        10 limitations, exclusions, and endorsements contained within the Industrial Excess
                                                        11 Policies.
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                                                        12         14.    As umbrella policies, the Industrial Excess Policies, subject to their
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                                                        13 terms, definitions, conditions, limitations, exclusions, and endorsements, provide that
                                                        14 Westchester will “pay on behalf of the insured the ultimate net loss in excess of the
                                                        15 retained limit hereinafter stated, which the insured may sustain by reason of liability
                                                        16 imposed upon the insured by law, arising out of an occurrence or assumed by the
                                                        17 insured under contract for: (a) Personal Injury Liability….”
                                                        18         15.    The retained limit for the Industrial Excess Policies is defined as “the
                                                        19 greater of: (a) the total of the applicable limits of the underlying policies listed in
                                                        20 Schedule A hereof, and the applicable limits of any other insurance collectible by the
                                                        21 insured [$500,000]; or (b) an amount as stated in Item 4(c) of the declarations as the
                                                        22 result of any one occurrence not covered by the said policies or insurance [$10,000].”
                                                        23 To the extent the CCVA Claims are covered under the Industrial Excess Policies, the
                                                        24 CCVA Claims are also covered by the underlying insurance. The amount stated in
                                                        25 Item 4(c) of the declarations therefore does not apply, and the applicable limits of the
                                                        26 underlying policies constitute the retained limit for purposes of the CCVA Claims.
                                                        27
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                                                         1         16.    The 1981-1982 Industrial Excess Policy identifies Aetna Casualty and
                                                         2 Surety Company policy no. 05FP218350, effective June 18, 1981 to July 1, 1981,
                                                         3 Aetna Casualty and Surety Company policy no. 05FP714221, effective July 1, 1981
                                                         4 to July 21, 1981 (collectively the “Aetna Primary Policies”), and Centennial Insurance
                                                         5 Company general liability policy no. 29170453, effective July 21, 1981 to July 1,
                                                         6 1982, in its schedule of underlying insurance. The schedule of underlying insurance
                                                         7 in the 1982-1983 and the 1983-1984 Industrial Excess Policies identify Centennial
                                                         8 Insurance Company general liability policy no. 29170453, with effective dates
                                                         9 commensurate with the 1982-1983 and the 1983-1984 Industrial Excess Policies
                                                        10 (collectively with the Centennial Insurance Company policy effective from July 21,
                                                        11 1981 to July 1, 1982, the “Centennial Primary Policies.”)
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                                                        12         17.    Coverage under the Industrial Excess Policies is not implicated until the
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                                                        13 retained limit is satisfied. The Industrial Excess Policies provide that “[l]iability of
                                                        14 the company with respect to any one occurrence shall not attach unless and until the
                                                        15 insured, the company on behalf of the insured, or the insured’s underlying insurer, has
                                                        16 paid the amount of the retained limit.”
                                                        17         18.    The Industrial Excess Policies further provide that “[t]his policy shall not
                                                        18 apply to defense, investigation, settlement, or legal expenses covered by underlying
                                                        19 insurance.”
                                                        20         19.    The Industrial Excess Policies further provide that “[i]f underlying
                                                        21 insurance is exhausted by any occurrence, the company shall be obligated to assume
                                                        22 charge of the settlement or defense of any claim or proceeding against the insured
                                                        23 resulting from the same occurrence, but only where this policy applies immediately
                                                        24 in excess of such underlying insurance, without the intervention of excess insurance
                                                        25 of another carrier.”
                                                        26         20.    Following payment of the underlying limits, the Industrial Excess
                                                        27 Policies provide coverage for excess loss arising out of any one “occurrence” because
                                                        28
                                                                                                  6                                          Case No.
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                                                         1 of “personal injury liability,” defined as “bodily injury, sickness, disease, disability,
                                                         2 shock, mental anguish and mental injury.”
                                                         3         21.    To the extent the CCVA Claims include allegations of “personal injury
                                                         4 liability,” such “personal injury liability” does not implicate coverage under the
                                                         5 Industrial Excess Policies unless it takes place during the policy period and is caused
                                                         6 by an “occurrence.” An “occurrence” is defined as “an accident or happening or event
                                                         7 or a continuous or repeated exposure to conditions which unexpectedly and
                                                         8 unintentionally causes injury to persons or tangible property during the policy period.
                                                         9 All damages arising out of such exposure to substantially the same general conditions
                                                        10 shall be considered as arising out of one occurrence.” The Industrial Excess Policies,
                                                        11 therefore, do not cover liability for bodily injury that does not result from an
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                                                        12 “occurrence” as defined in the policy.
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                                                        13         22.    The 1981-1982 Industrial Excess Policy, pursuant to Endorsement 3, and
                                                        14 the 1982-1983 Industrial Excess Policy, pursuant to Endorsement 8, provide that
                                                        15 coverage also applies “in accordance with the applicable provisions of the ‘underlying
                                                        16 errors & omissions or professional liability insurance’ for the amount of ‘loss’ which
                                                        17 is in excess of the applicable limits of the ‘underlying errors & omissions or
                                                        18 professional liability insurance’ described in the Declarations.” The 1983-1984
                                                        19 Industrial Excess Policy, pursuant to Endorsement No. 13 titled Excess Following
                                                        20 Underlying Insurance, states “Except insofar as coverage is available to the insured
                                                        21 in the underlying policies listed in Schedule A, this policy does not apply to: Liability
                                                        22 Arising Out of Pastoral Malpractice.”
                                                        23         23.    The 1981-1982 Industrial Excess Policy and the 1982-1983 Industrial
                                                        24 Excess Policy are subject to the provisions of the underlying insurance with the
                                                        25 exception of “(a) any obligation to investigate, defend, or pay for costs and expenses
                                                        26 incident to the same; (b) the limits of liability; (c) any ‘other insurance’ provision;
                                                        27 and (d) any other provisions therein which are inconsistent with the provisions of this
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                                                         1 Endorsement.” The Industrial Excess Policies do not provide excess errors and
                                                         2 omissions coverage until the underlying insurance is exhausted through the payment
                                                         3 of settlement or judgment.
                                                         4         24.    The Centennial Primary Policies underlying each of the Industrial Excess
                                                         5 Policies include a Pastoral Professional Liability Coverage Part, the insuring
                                                         6 agreement provides coverage for “damages because of any act or omission of the
                                                         7 insured and arising out of the performance of professional services for others in the
                                                         8 insured’s capacity as a pastoral counselor.” The Pastoral Professional Liability
                                                         9 Coverage Part contains exclusions that provide it does not apply “(a) to any dishonest,
                                                        10 fraudulent, criminal or malicious act or omission of any insured,” or “(h) to licentious,
                                                        11 immoral or sexual behavior intended to lead to or culminating in any sexual act.”
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                                                        12         25.    The Industrial Excess Policies, subject to their terms, definitions,
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                                                        13 conditions, limitations, exclusions, and endorsements, and to the extent they contain
                                                        14 such language based on specimen forms, require that in the event of an occurrence,
                                                        15         “written notice shall be given as soon as practicable to the company or
                                                                   any of its authorized agents. Such notice shall contain particulars
                                                        16
                                                                   sufficient to identify the insured and the fullest information obtainable
                                                        17         at the time. The insured shall give like notice of any claim made on
                                                                   account of such occurrence. If legal proceedings are begun the insured,
                                                        18
                                                                   when requested by the company, shall forward to it each paper thereon,
                                                        19         or a copy thereof, received by the insured or the insured’s
                                                                   representatives, together with copies of reports of investigations made
                                                        20
                                                                   by the insured with respect to such claim proceedings.”
                                                        21
                                                                   26.    The Industrial Excess Policies, subject to their terms, definitions,
                                                        22
                                                             conditions, limitations, exclusions, and endorsements, and to the extent they contain
                                                        23
                                                             such language based on specimen forms, provide as follows:
                                                        24
                                                                   “[e]xcept as provided in Insuring Agreement II (Defense. Settlement,
                                                        25         or in Insuring Agreement V (Retained Limit - Limit of Liability) with
                                                        26         respect to the exhaustion of the aggregate limits of underlying policies
                                                                   listed in Schedule A. or in Condition J (Underlying Insurance) the
                                                        27         company shall not be called upon to assume charge of the settlement or
                                                        28         defense of any claim made or proceeding instituted against the insured,
                                                                                                  8                                        Case No.
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                                                         1         but the company shall have the right and opportunity to associate with
                                                                   the insured in the defense and control of any claim or proceeding
                                                         2
                                                                   reasonably likely to involve the company. In such event the insured and
                                                         3         the company shall cooperate fully.”
                                                         4 B.      The CCVA Claims
                                                         5         27.    Governor Gavin Newsom signed California Assembly Bill 218 into law
                                                         6 in October 2019. That statute is called the California Child Victims Act (the
                                                         7 “CCVA”). The CCVA allows survivors of child sexual assault to bring civil lawsuits
                                                         8 arising out of their sexual assault until their 40th birthday or within five years of the
                                                         9 date the plaintiff discovers or reasonably should have discovered that psychological
                                                        10 injury or illness occurring after the age of majority was caused by the sexual assault,
                                                        11 whichever is later.
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                                                        12         28.    The CCVA also opened a “revival window” during which all survivors
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                                                        13 (regardless of age) were permitted to file civil lawsuits. This window opened on
                                                        14 January 1, 2020, and closed on December 31, 2022.
                                                        15         29.    The Diocese of Orange has been named as a defendant in over two
                                                        16 hundred lawsuits under the CCVA alleging childhood sexual abuse that have been
                                                        17 coordinated in JCCP 5101 (the “coordinated proceeding”). As part of the coordinated
                                                        18 proceeding, a Master Complaint was approved for filing by all plaintiffs along with
                                                        19 individual “Notices of Adoption” of the Master Complaint. These lawsuits include
                                                        20 claims of abuse by priests and clergy who served the Diocese of Orange and certain
                                                        21 of its affiliates in senior leadership roles.
                                                        22         30.    Senior Diocese of Orange officials have known for decades about the
                                                        23 clergy committing sexual abuse. Knowledge by Diocese of Orange officials includes,
                                                        24 but is not limited to:
                                                        25
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                                                        13
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                                                        16        31.    The CCVA plaintiffs allege in the CCVA Claims sexual abuse by and
                                                        17 against the Diocese of Orange and certain of its affiliates, and clergy, agents, and
                                                        18 employees from the 1970s through the 1990s.
                                                        19        32.    The CCVA plaintiffs assert in the CCVA Claims that the Diocese of
                                                        20 Orange or its affiliates knew about the sexual abuse of minors. In the Master
                                                        21 Complaints for the CCVA Claims, plaintiffs allege that the Diocese of Orange knew
                                                        22 or should have known of the abuse and allowed it to occur:
                                                        23        At all times herein, the DEFENDANTS RELIGIOUS ENTITIES, and
                                                                  each of them, knew or should have known that the DOE
                                                        24
                                                                  PERPETRATOR was unfit, posed a risk of harm to minor children,
                                                        25        and/or posed a risk of childhood sexual assault to minor children in its
                                                                  care, custody, and control. Specifically, DEFENDANTS RELIGIOUS
                                                        26
                                                                  ENTITIES knew or should have known, or were otherwise on notice,
                                                        27        that the DOE PERPETRATOR had engaged in misconduct that
                                                                  created the risk of childhood sexual assault and failed to take
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                                                         1         reasonable steps or to implement reasonable safeguards to avoid acts
                                                                   of childhood sexual assault by the DOE PERPETRATOR on minors,
                                                         2
                                                                   including Plaintiff.
                                                         3
                                                             (Amended Master Complaint in JCCP 5101 ¶ 46.)
                                                         4
                                                                   33.    The CCVA plaintiffs allege in the CCVA Claims that the Diocese of
                                                         5
                                                             Orange or its affiliates knowingly hid known abuse and hindered efforts to prevent it:
                                                         6
                                                                   Defendants also intentionally and willfully implemented various
                                                         7
                                                                   measures intended and designed to, or which effectively, made the
                                                         8         DOE PERPETRATOR’s conduct harder to detect including, but not
                                                                   limited to:
                                                         9
                                                        10         a.     Assigning and permitting the DOE PERPETRATOR to remain
                                                                   in a position of authority and trust after DEFENDANTS RELIGIOUS
                                                        11         ENTITIES and DOES 1 through 500 knew or should have known that
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                                                        12         DOE PERPETRATOR was an unfit agent, servant, employee, member
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                                                                   and/or volunteer;
                                                        13
                                                        14         b.     Assigning and permitting the DOE PERPETRATOR to remain
                                                                   in a position of authority and trust after DEFENDANTS RELIGIOUS
                                                        15         ENTITIES and DOES 1 through 500 knew or should have known that
                                                        16         DOE PERPETRATOR engaged in misconduct that created a risk of
                                                                   childhood sexual assault;
                                                        17
                                                                   b. [sic]     Placing the DOE PERPETRATOR in a separate and
                                                        18         secluded environment, including placing him in charge of children,
                                                        19         which allowed the DOE PERPETRATOR to sexually and physically
                                                                   interact with and assault children, including Plaintiff;
                                                        20
                                                        21         c.    Authorizing the DOE PERPETRATOR to come into contact
                                                                   with minors, including Plaintiff, without adequate supervision;
                                                        22
                                                                   d.     Failing to inform, or concealing from Plaintiff’s parents and law
                                                        23         enforcement officials the fact that Plaintiff and others were or may
                                                        24         have been sexually assaulted after Defendants knew or should have
                                                                   known that the DOE PERPETRATOR may have sexually assaulted
                                                        25         Plaintiff or others, thereby enabling Plaintiff to continue to be
                                                        26         endangered and sexually assaulted, and/or creating the circumstance
                                                                   where the Plaintiff and others were less likely to receive
                                                        27
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                                                         1         medical/mental health care and treatment, thus exacerbating the harm
                                                                   to Plaintiff;
                                                         2
                                                         3         e.     Holding out and affirming the DOE PERPETRATOR to
                                                                   Plaintiff and Plaintiff’s parents, other children and their parents, and to
                                                         4         the community, as being a person in good standing and who was
                                                         5         trustworthy;
                                                         6         f.    Failing to take reasonable steps, and to implement reasonable
                                                                   safeguards to avoid acts of unlawful sexual conduct by the DOE
                                                         7
                                                                   PERPETRATOR with students, minor children;
                                                         8
                                                                   g.    Failing to put in place a system or procedure to supervise or
                                                         9         monitor employees, volunteers, representatives or agents to ensure that
                                                        10         they did not molest or assault minors in Defendants’ custody or care,
                                                                   including Plaintiff.
                                                        11
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                                                        12 (Master Complaint in JCCP 5101, ¶ 49.)
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                                                        13         34.    The plaintiffs in the CCVA Claims further assert that the Diocese of
                                                        14 Orange or its affiliates failed to stop the sexual abuse, covered it up, and then lied
                                                        15 about it. In the Amended Master Complaint for the CCVA Claims, the plaintiffs
                                                        16 allege that, “This failure was a part of Defendants’ intended plan and arrangement to
                                                        17 conceal wrongful acts, to avoid and inhibit detection, to block public disclosure, to
                                                        18 avoid scandal, to avoid the disclosure of their tolerance of child sexual molestation
                                                        19 and assault, to preserve a false appearance of propriety, and to avoid investigation and
                                                        20 action by public authority including law enforcement.” (Master Complaint in JCCP
                                                        21 5101 ¶ 52.)
                                                        22         35.     The CCVA Claims allege different legal theories, including intentional
                                                        23 torts, strict liability, and negligence.
                                                        24         36.    The Diocese of Orange seeks defense and indemnity coverage under the
                                                        25 Industrial Excess Policies for the CCVA Claims. Pursuant to the terms, conditions,
                                                        26 definitions, and endorsements of the Industrial Excess Policies, Westchester has not
                                                        27 agreed to defend the CCVA Claims unless and until the Diocese of Orange satisfies
                                                        28
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                                                         1 the retained limit. Westchester has agreed to monitor and investigate the CCVA
                                                         2 Claims that allege abuse during one or more of the policy periods of the Industrial
                                                         3 Excess Policies, subject to a full and complete reservation of rights. Westchester has
                                                         4 agreed to defend the John Doe E.G.D. action, subject to a full reservation of rights.
                                                         5 As part of Westchester’s agreement to defend the John Doe E.G.D. action,
                                                         6 Westchester has expressly reserved its right to recoup all defense costs and indemnity
                                                         7 costs associated with any and all uncovered claims.
                                                         8        37.    Westchester has reserved its right to deny coverage for any claim arising
                                                         9 out of an injury that was not caused by an occurrence or that was expected or intended
                                                        10 by the Diocese of Orange.
                                                        11        38.    Westchester has fully and completely reserved all of its rights against the
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                    150 California Street, 15th Floor




                                                        12 Diocese of Orange.
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                                                        13 C.     Requests for Information
                                                        14        39.    Westchester lacks information needed to evaluate and adjust the CCVA
                                                        15 Claims for which the Diocese of Orange seeks coverage under the Industrial Excess
                                                        16 Policies.
                                                        17        40.    The Diocese of Orange has advised Westchester that it does not have all
                                                        18 relevant documents related to the CCVA Claims due to the stay of discovery in the
                                                        19 coordinated proceeding. The Diocese of Orange, however, should have, and has not
                                                        20 provided Westchester with, material documents pertinent to the merits of the CCVA
                                                        21 Claims, which should include documents describing the Diocese of Orange’s
                                                        22 procedures, policies, and practices for handling clergy sexual abuse allegations;
                                                        23 documents reflecting the Diocese of Orange’s knowledge of the scope and
                                                        24 pervasiveness of sexual abuse by clergy in the Diocese of Orange beyond just
                                                        25 personnel files; documents concerning the possible concealment of sexual abuse;
                                                        26 documents regarding transfer of clergy who were accused of sexual abuse; and
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                                                         1 documents showing what the Diocese of Orange did to monitor clergy sexual abuse
                                                         2 and protect children.
                                                         3      FIRST CLAIM FOR RELIEF – AS AGAINST DIOCESE OF ORANGE
                                                         4                       (Declaratory Judgment – Duty to Defend)
                                                         5         41.    Westchester incorporates by reference, as if fully restated herein, each of
                                                         6 the preceding paragraphs.
                                                         7         42.    An actual controversy has arisen and now exists between Westchester,
                                                         8 on the one hand, and the Diocese of Orange, on the other hand, concerning their rights
                                                         9 and duties under the Industrial Excess Policies regarding defense of the CCVA
                                                        10 Claims.
                                                        11         43.    The Diocese of Orange contends that Westchester has an obligation to
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                                                        12 defend the Diocese of Orange now for CCVA Claims that fall within the policy
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                                                        13 periods of the Centennial Primary Policies because Centennial Insurance Company is
                                                        14 insolvent. The Diocese of Orange asserts that the Industrial Excess policies must
                                                        15 “drop down” to provide a defense and primary layer indemnity coverage.
                                                        16         44.    Westchester asserts that the Industrial Excess Policies are not implicated
                                                        17 unless and until the limits of the underlying policies are paid either by the Diocese of
                                                        18 Orange or its underlying insurer, and therefore Westchester has no present “drop
                                                        19 down” obligation to defend the Diocese of Orange against the CCVA Claims.
                                                        20         45.    Pursuant to 28 U.S.C. § 2201, Westchester desires a judicial
                                                        21 determination of its rights and obligations under the Industrial Excess Policies
                                                        22 regarding defense of the Diocese of Orange for the CCVA Claims that, to the extent
                                                        23 the CCVA Claims are covered by the underlying Centennial Primary Policies, and the
                                                        24 underlying limits of the Centennial Primary Policies have not been exhausted with
                                                        25 respect to an “occurrence,” Westchester has no duty to defend the CCVA Claims.
                                                        26         46.    Further, to the extent that Westchester has no duty to indemnify the
                                                        27 Diocese of Orange for the CCVA Claims for the reasons discussed below in
                                                        28
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                                                         1 Westchester’s Second Claim for Relief, it also would have no duty to defend the
                                                         2 CCVA Claims.
                                                         3        47.    A declaration is necessary and appropriate at this time under the
                                                         4 circumstances in order that the parties may ascertain their rights and duties as
                                                         5 aforementioned.      Said controversy is incapable of resolution without judicial
                                                         6 adjudication. Accordingly, Westchester has no plain, speedy, and adequate remedy
                                                         7 at law. Westchester requests a declaration that Westchester has no duty to defend the
                                                         8 Diocese of Orange for the CCVA Claims until the underlying limits of the Centennial
                                                         9 Primary Policies have been “exhausted by any occurrence.”
                                                        10        48.    Pursuant to 28 U.S.C. § 2201, Westchester is entitled to a judicial
                                                        11 determination concerning the parties’ rights and obligations, if any, under the
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                                                        12 Industrial Excess Policies for the CCVA Claims.
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                                                        13    SECOND CLAIM FOR RELIEF – AS AGAINST DIOCESE OF ORANGE
                                                        14                   (Declaratory Judgment – No Duty to Indemnify)
                                                        15        49.    Westchester incorporates by reference, as if fully restated herein, each of
                                                        16 the preceding paragraphs.
                                                        17        50.    An actual controversy has arisen and now exists between Westchester,
                                                        18 on the one hand, and the Diocese of Orange, on the other hand, concerning their
                                                        19 respective rights and duties under the Industrial Excess Policies as respects potential
                                                        20 indemnity with respect to the CCVA Claims.
                                                        21        51.    The Diocese of Orange contends that Westchester has an obligation to
                                                        22 indemnify the Diocese of Orange for the CCVA Claims.
                                                        23        52.    Westchester seeks a judicial determination of its indemnity obligation, if
                                                        24 any, to the Diocese of Orange or its affiliates for any CCVA Claims or other similar
                                                        25 sexual abuse claims that the Diocese of Orange or its affiliates have tendered or may
                                                        26 tender to Westchester. Westchester asserts that the CCVA Claims may not qualify
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                                                         1 for coverage under the Industrial Excess Policies on the following grounds, including
                                                         2 without limitation:
                                                         3              a.       to the extent that the Diocese of Orange does not establish that
                                                         4        the injuries alleged in the CCVA Claims were “unexpected[] and
                                                         5        unintentional[]”;
                                                         6              b.       to the extent that the CCVA Claims do not involve an or
                                                         7        “occurrence” within the meaning of the Industrial Excess Policies;
                                                         8              c.       to the extent that the CCVA Claims resulted from the Diocese of
                                                         9        Orange’s or its affiliates’ failure to mitigate damages;
                                                        10              d.       to the extent that the CCVA Claims resulted from the Diocese of
                                                        11        Orange’s or its affiliates’ failure to promptly take all reasonable steps to
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                                                        12        prevent other “personal injury liability” arising out of the same or similar
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                                                        13        conditions that gave rise to the initial occurrence, claim, or suit;
                                                        14              e.       to the extent that the Diocese of Orange or its affiliates failed to
                                                        15        cooperate with Westchester as required under the Industrial Excess Policies;
                                                        16              f.       to the extent the Diocese of Orange or its affiliates made
                                                        17        voluntary payments for the CCVA Claims;
                                                        18              g.       to the extent that the Diocese of Orange or its affiliates failed to
                                                        19        provide timely notice of an occurrence, claim, or suit, as required under the
                                                        20        Industrial Excess Policies;
                                                        21              h.       to the extent that the Industrial Excess Policies contain
                                                        22        exclusions relating to sexual abuse;
                                                        23              i.       to the extent that the CCVA Claims do not allege any “personal
                                                        24        injury liability” during the relevant policy periods;
                                                        25              j.       to the extent that the CCVA Claims do not implicate the
                                                        26        attachment points of the Industrial Excess Policies;
                                                        27              k.       to the extent that the Diocese of Orange or its affiliates are not
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                                                         1         insureds under the Industrial Excess Policies; or
                                                         2                l.    to the extent that the Diocese of Orange or its affiliates have not
                                                         3         met their burden to establish the existence of or material terms and conditions
                                                         4         of the Industrial Excess Policies.
                                                         5         53.    A judicial determination is necessary and appropriate at this time under
                                                         6 the circumstances in order that the parties may ascertain their rights and duties as
                                                         7 provided above.       This controversy is incapable of resolution without judicial
                                                         8 adjudication. Accordingly, Westchester has no plain, speedy, and adequate remedy
                                                         9 at law. Westchester requests a declaratory judgment determining Westchester’s rights
                                                        10 and obligations as respects the duty to indemnify, if any, the Diocese of Orange or its
                                                        11 affiliates for the CCVA Claims.
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                                                        12         54.    Pursuant to 28 U.S.C. § 2201, Westchester seeks, and is entitled to, a
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                                                        13 judicial determination concerning the parties’ rights and obligations, if any, under the
                                                        14 Industrial Excess Policies regarding any indemnity of the Diocese of Orange for the
                                                        15 CCVA Claims.
                                                        16     THIRD CLAIM FOR RELIEF – AS AGAINST DIOCESE OF ORANGE
                                                        17                                     (Reimbursement)
                                                        18         55.    Westchester incorporates by reference, as if fully restated herein, each of
                                                        19 the preceding paragraphs.
                                                        20         56.    Westchester has incurred and will continue to incur attorneys’ fees and
                                                        21 other expenses in connection with its defense of the Diocese of Orange in the John
                                                        22 Doe E.G.D. action and other CCVA Claims.
                                                        23         57.    To the extent that Westchester has no duty under any of the Industrial
                                                        24 Excess Policies to afford a defense to the Diocese of Orange in any or all of the CCVA
                                                        25 Claims unless and until the Diocese of Orange satisfies the retained limit by paying
                                                        26 the limits of the underlying limits of the Centennial Primary Policies for any
                                                        27 occurrence, Westchester has a right to be reimbursed by the Diocese of Orange for
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                                                                                                 17                                         Case No.
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                                                         1 some or all attorneys’ fees, costs, and other expenses that it has or may pay or incur
                                                         2 in the defense of the CCVA Claims, including the John Doe E.G.D. action, pursuant
                                                         3 to Buss v. Superior Court, 16 Cal.4th 35 (1997), Scottsdale Ins. Co. v. MV
                                                         4 Transportation, 36 Cal.4th 643 (2005), and related cases.
                                                         5        58.    To the extent that Westchester has no duty under any of the Industrial
                                                         6 Excess Policies to indemnify the Diocese of Orange for resolution of any or all of the
                                                         7 CCVA Claims by settlement or judgment, Westchester has a right to be reimbursed
                                                         8 by the Diocese of Orange for some or all indemnity that it has or may pay or incur for
                                                         9 the CCVA Claims, including the John Doe E.G.D. action, pursuant to Blue Ridge Ins.
                                                        10 Co. v. Jacobsen, 25 Cal.4th 489 (2001) and related cases.
                                                        11        59.    Westchester has reserved its rights to reimbursement in correspondence
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                                                        12 to the Diocese of Orange agreeing to pay or defend certain of the CCVA Claims.
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                                                        13                                PRAYER FOR RELIEF
                                                        14        WHEREFORE, Westchester respectfully requests the Court to enter an order:
                                                        15        1.     Declaring whether or not Westchester has any indemnification
                                                        16               obligations to the Diocese of Orange or its affiliates for any CCVA
                                                        17               Claims;
                                                        18        2.     Declaring whether or not Westchester has a defense obligation to the
                                                        19               Diocese of Orange or its affiliates for any CCVA Claims;
                                                        20        3.     To the extent it is determined that the Industrial Excess Policies provide
                                                        21               coverage for the CCVA Claims, a declaration of whether or not the
                                                        22               Industrial Excess Policies are implicated only after the retained limit is
                                                        23               satisfied through payment of the limits of the underlying insurance,
                                                        24               such that Westchester does not have a “drop down” duty to defend or
                                                        25               indemnify the CCVA Claims;
                                                        26        4.     To the extent it is determined that Industrial Excess Policies do not
                                                        27               provide coverage for the CCVA Claim, a declaration that Westchester
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                                                         1               is entitled to recoup defense or indemnity costs that it has paid to or
                                                         2               behalf of the Diocese of Orange and its affiliates regarding any CCVA
                                                         3               Claims;
                                                         4         5.    Costs of suit; and
                                                         5         6.    Granting any other relief that the Court deems just and proper.
                                                         6
                                                         7 Dated: July 11, 2024                    CLYDE & CO US LLP
                                                         8
                                                                                                   By: /s/ Alexander E. Potente
                                                         9                                             Alexander E. Potente
                                                        10                                             Jason J. Chorley

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                                                             Dated: July 11, 2024                  O’MELVENY & MYERS LLP
                                                        13
                                                                                                   By: /s/ Richard B. Goetz
                                                        14
                                                                                                      Richard B. Goetz
                                                        15                                            Zoheb Noorani
                                                        16                                            Jessica A. Snyder

                                                        17                                              Attorneys for Plaintiff
                                                        18                                              WESTCHESTER FIRE INSURANCE
                                                                                                        COMPANY, as successor in interest to
                                                        19                                              Industrial Underwriters Insurance
                                                        20                                              Company
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                                                         1                           DEMAND FOR TRIAL BY JURY
                                                         2         PLEASE TAKE NOTICE that Westchester Fire Insurance Company hereby
                                                         3 demands a trial by jury as to all issues so triable.
                                                         4
                                                         5 Dated: July 11, 2024                     CLYDE & CO US LLP
                                                         6
                                                                                                    By: /s/ Alexander E. Potente
                                                         7                                             Alexander E. Potente
                                                         8                                             Jason J. Chorley

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                                                        10
                                                             Dated: July 11, 2024                   O’MELVENY & MYERS LLP
                                                        11
                                                                                                    By: /s/ Richard B. Goetz
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                                                                                                       Richard B. Goetz
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                                                        14                                             Jessica A. Snyder

                                                        15                                              Attorneys for Plaintiff
                                                        16                                              WESTCHESTER FIRE INSURANCE
                                                                                                        COMPANY, as successor in interest to
                                                        17                                              Industrial Underwriters Insurance
                                                        18                                              Company
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